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                                IN THE UNITED STATES DISTRICT COURT                               Oct 04, 2021
                                    FOR THE DISTRICT OF MARYLAND
                                                                                                          MD

UNITED STATES OF AMERICA
                                                                     *
                         v.                                                    Case No.   GJH 21-cr-348
                                                                     *
              Brian McQuade
                                                                     *

                                                              ******

                                                CONTRIBUTION ORDER


          Although counsel has been appointed to represent the Defendant, it appears to the United

States Magistrate Judge the Defendant may have sufficient resources to contribute financially

toward the payment of counsel fees.

          It is therefore required that court-appointed counsel as well as counsel for the government

bring this matter to the attention of the judicial officer at the time of conviction or acquittal. The

judicial officer may request the Probation Department investigate the Defendant’s financial

resources and recommend whether the Defendant should be required to pay any sum as a result of

services rendered by court-appointed counsel pursuant to the provisions of 18 U.S.C. § 3006A(f).



 October 4, 2021                                                         ____________________________________
Date                                                                     The Honorable Gina L. Simms
                                                                         United States Magistrate Judge




U.S. District Court (11/2011) Criminal Magistrate Forms: Miscellaneous
